Case: 1:19-cv-07915 Document #: 49-2 Filed: 08/28/20 Page 1 of 17 PageID #:1347




                   EXHIBIT B
     Case: 1:19-cv-07915
             Case MDL No.Document #: 49-2 Filed:
                           2948 Document    35 08/28/20    Page 2Page
                                                 Filed 06/09/20   of 171PageID
                                                                         of 16 #:1348



                       BEFORE THE UNITED STATES JOINT PANEL
                           ON MULTIDISTRICT LITIGATION

                                                        )
IN RE: TIKTOK, INC., CONSUMER                           )
PRIVACY LITIGATION                                      )       MDL No. 2948
                                                        )

     NORTHERN DISTRICT OF ILLINOIS PLAINTIFFS’ RESPONSE IN SUPPORT OF
           TRANSFER TO THE NORTHERN DISTRICT OF ILLINOIS FOR
          COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

         Plaintiffs1 in five now-consolidated class actions pending in the Northern District of Illinois

(“ND Ill. Plaintiffs”) submit this brief in support of the Motion for Transfer and Coordination of

Actions Pursuant to 28 U.S.C. § 1407, but believe that, rather than transfer to the Southern District

of Illinois, all related actions should be transferred to the Northern District of Illinois for

consolidated pretrial proceedings before the Honorable John Z. Lee.

I.       INTRODUCTION

         The ND Ill. Plaintiffs are Illinois resident minors in five separate lawsuits filed in federal

court in Illinois asserting Illinois-based claims on behalf of a putative class composed exclusively

of other Illinois resident minors. They seek relief for Defendants TikTok, Inc.’s and ByteDance,

Inc.’s (collectively, “Defendants”) violations of the Illinois Biometric Information Privacy Act

(“BIPA”), 740 ILCS 15/1, et seq. Specifically, the ND Ill. Plaintiffs allege Defendants’ ubiquitous

smartphone application, “TikTok,” scans users’ facial geometry, and thereafter (without consent)

captures, retains and disseminates their biometric identifiers and information in violation of BIPA.



1
  Plaintiffs swiftly organized their individual actions by relating them before the Honorable John
Z. Lee, and agreeing to consolidation with E.R. v. TikTok, Inc. et al, No. 1:20-cv-2810 (N.D. Ill.)
(filed May 8, 2020), the first-filed action in the Northern District of Illinois. The four other actions
originally were styled as follows: K.M. v. TikTok, Inc. et al., No. 1:20-cv-2883 (N.D. Ill.) (filed
May 13, 2020); D.H. v. TikTok, Inc. et al., No. 1:20-cv-2884 (N.D. Ill.) (filed May 13, 2020); L.B.
v. TikTok, Inc. et al., No: 1:20-cv-2889 (N.D. Ill.) (filed May 13, 2020); H.S. v. ByteDance, Inc. et
al., No. 1:20-cv-3007 (N.D. Ill.) (filed May 20, 2020) (collectively, the “ND Ill. Action”).
    Case: 1:19-cv-07915
            Case MDL No.Document #: 49-2 Filed:
                          2948 Document    35 08/28/20    Page 3Page
                                                Filed 06/09/20   of 172PageID
                                                                        of 16 #:1349



As of the date of this filing, sixteen similar—though not identical—actions are currently pending

in four different judicial districts: the Northern District of Illinois, the Southern District of Illinois,

the Northern District of California, and the Central District of California (hereinafter, the “Related

Actions”).2

        The ND Ill. Plaintiffs initially believed these cases could be coordinated informally to

obviate any need for centralization. To that end, the ND Ill. Plaintiffs proceeded as this Panel

suggested: they self-organized their actions before Judge Lee and immediately attempted to

coordinate their consolidated case with all counsel for plaintiffs in the Related Actions and counsel

for Defendants. During these communications, counsel for Defendants expressed an interest in

pursuing mediation and the ND Ill. Plaintiffs agreed. The mediation is currently scheduled to take

place on August 13, 2020 before the Honorable Layn R. Phillips (Ret.). Judge Phillips has already

mediated this case once with Defendants and counsel in the Hong litigation (the first filed action

in California). Thus, ND Ill. Plaintiffs believe that a second mediation with the same judge allows

the parties to capitalize on these prior efforts.

        Recognizing their fiduciary duty to explore the possibility of settlement for the class,

counsel for the ND Ill. Plaintiffs immediately notified all plaintiffs’ counsel and invited them to

participate in mediation. Plaintiffs’ counsel in actions pending in the Southern District of Illinois

and Central District of California agreed to coordinate with the ND Ill. Plaintiffs and participate

in mediation.3 Counsel for plaintiffs in some of the Northern District of California cases have also




2
  All actions, except one action filed in the Central District of California, allege BIPA violations.
That action is based on violations of California law.
3
  At the time of these discussions, only one action was pending in the Central District of
California, G.R. v. TikTok, Inc. et al., No. 2:20-cv-4357 (C.D. Cal.) (filed May 20, 2020), and
counsel in this matter agreed to attend mediation. ND Ill. Plaintiffs’ counsel just learned of a
new filing in the Central District of California, captioned C.H. v. TikTok, Inc. et al., No. 2:20-cv-
                                                    2
  Case: 1:19-cv-07915
          Case MDL No.Document #: 49-2 Filed:
                        2948 Document    35 08/28/20    Page 4Page
                                              Filed 06/09/20   of 173PageID
                                                                      of 16 #:1350



agreed to participate, although plaintiffs’ counsel in the Hong matter has declined. Because of this

unfortunate lack of complete unanimity, transfer and centralization pursuant to 28 U.S.C. § 1407

not only is appropriate, but necessary.

       In light of all the facts, the Northern District of Illinois is the most appropriate transferee

forum. As detailed below, the plaintiffs in all but one Related Action include Illinois residents

under the age of 18, all of whom would be greatly inconvenienced if required to litigate their claims

in California federal court, which they bring almost exclusively on behalf of an Illinois class for

violations of an Illinois statute.    Nor would transfer to the Northern District of Illinois

inconvenience Defendants, who have agreed to centralization in the Northern District of Illinois if

the Panel so chooses. When these factors are considered alongside the Northern District of Illinois’

geographically central location, favorable caseload and nexus to this action, there can be no doubt

that centralization and coordination in the Northern District of Illinois will best further Section

1407’s twin objectives: promoting convenience and the efficient prosecution of all cases.

II.    BACKGROUND

           A. The TikTok App

       Defendants operate TikTok, a widely popular video-sharing social media application.

TikTok is especially popular with teenagers and young adults. The app permits users to create and

share short videos, and to use filters and other effects therein. To utilize many of the effects,

Defendants scan users’ faces and “face geometries” to, inter alia, superimpose stickers on users’

faces, enhance aspects of their facial features, or swap the user’s face for an emoji or another

individual’s face. Defendants also scan users’ faces to determine the user’s age using an algorithm.




5036 (C.D. Cal.), and have not yet had the opportunity to communicate with counsel in that
matter.
                                                 3
  Case: 1:19-cv-07915
          Case MDL No.Document #: 49-2 Filed:
                        2948 Document    35 08/28/20    Page 5Page
                                              Filed 06/09/20   of 174PageID
                                                                      of 16 #:1351



           B. The Related Actions

       The ND. Ill. Plaintiffs are Illinois-resident minors who, through their guardians,

commenced five separate class actions arising from Defendants’ alleged violations of Illinois

BIPA. The first action E.R. v. TikTok, Inc. et al, No. 1:20-cv-2810 (N.D. Ill.), was filed on May

8, 2020, and assigned to the Honorable John Z. Lee. A copy of the docket as of the date of this

filing is attached hereto as Exhibit A.

       To conserve judicial resources, the E.R. plaintiff moved to relate and reassign to Judge Lee

three later-filed actions, with consent of all counsel. The motion to relate and reassign was granted

on May 21, 2020 (Ex. A, at ECF No. 10), and Judge Lee later consolidated those cases with E.R.

(Id., at ECF No. 14.) On May 29, 2020, Judge Lee ordered consolidation of a subsequent related

action, set June 12, 2020 as a deadline for the filing of a consolidated complaint, and appointed

Katrina Carroll of Carlson Lynch LLP (“Carroll”), filer of the first BIPA action in the district, as

interim lead Plaintiffs’ counsel during the pendency of the MDL petition. (Id., at ECF No. 18.)

All counsel in the ND Ill. have organized themselves and are diligently and cooperatively working

together and intend to file their Consolidated Complaint no later than June 12, 2020, as Judge Lee

ordered.

       The related litigation in California is much less organized than the proceedings in the

Northern District of Illinois and the procedural history is somewhat complicated. The “first filed”

of all related cases which are the subject of this MDL is Hong v. ByteDance, Inc. et al., 5:19-cv-

07792-LHK, filed in the Northern District of California in November of 2019. Hong is not the

first BIPA case filed against TikTok in California, however. Indeed, as originally pled, Hong was

not a BIPA case at all, was not brought on behalf of any Illinois plaintiffs, and did not seek to




                                                 4
    Case: 1:19-cv-07915
            Case MDL No.Document #: 49-2 Filed:
                          2948 Document    35 08/28/20    Page 6Page
                                                Filed 06/09/20   of 175PageID
                                                                        of 16 #:1352



represent a putative class of any Illinois residents - in other words, the case had no ties whatsoever

to Illinois.

        After unsuccessfully mediating their action with Judge Phillips, Hong counsel amended

their complaint to add Illinois plaintiffs and a BIPA claim on May 11, 2020 - after E.R. was filed

in the Northern District of Illinois and a separate, BIPA-only case was filed in California.4

Thereafter, five new BIPA cases were filed in the Northern District of California and all of the

related actions were consolidated with Hong.5

        While Hong now includes a BIPA claim, that action still includes all claims initially pled

(a broad panoply of California causes of action), the plaintiffs seek to represent the broadest class

conceivable (all TikTok users in the United States) and the case is not tailored as a BIPA case.

Thus, Hong is an outlier. All other related actions (except one) filed in all districts are BIPA-

exclusive, Illinois-based cases brought on behalf of Illinois classes by Illinois residents under

Illinois law.6 Illinois is the obvious nexus and tie that binds all of the actions together and is thus

the most logical place for the cases to proceed.

        This makes sense, in fact, because the Illinois cases are organized and the proceedings are

more advanced that those in California. Despite the fact that the non-BIPA Hong complaint was




4
  The first filed BIPA case in California is P.S. v. TikTok, Inc., No. 3:20-cv-2992 (filed Apr. 30,
2020), filed within days of E.R. in the Northern District of Illinois.
5
  See Schedule of Actions, MDL No. 2948 (ECF No. 1-2); Notices of Related Actions, (ECF Nos.
13, 24, 27, 28).
6
  As previously noted, there is one action pending in the Central District of California (G.R. v.
TikTok, Inc. et al., No. 2:20-cv-4357 (C.D. Cal.) alleging violations of the California Consumer
Privacy Act and another BIPA case, C.H. v. TikTok, Inc. et al., No. 2:20-cv-5036 (C.D. Cal.).
There are two BIPA cases pending in the Southern District of Illinois (A.S. v. TikTok, Inc. et al.,
No. 3:20-cv-457 (S.D. Ill.) (filed May 15, 2020); L.M. v. TikTok, Inc. et al, No. 3:-20-498 (S.D.
Ill.) (filed May 29, 2020)). Through their coordination efforts, ND. Ill. Plaintiffs understand that
counsel in the G.R. action and both S.D. Ill. actions are not opposed to centralization in the
Northern District of Illinois for the reasons stated herein.
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    Case: 1:19-cv-07915
            Case MDL No.Document #: 49-2 Filed:
                          2948 Document    35 08/28/20    Page 7Page
                                                Filed 06/09/20   of 176PageID
                                                                        of 16 #:1353



filed in November 2019, no dispositive motions have been filed, no discovery has been exchanged,

and no leadership structure has been proposed to Judge Koh, who is overseeing the consolidated

actions in the Northern District of California. Defendants have not responded to the original Hong

complaint, the amended Hong complaint, nor any of the recently-filed BIPA complaints. In fact,

leadership for the ND. Cal. cases is not scheduled to be addressed until a hearing scheduled for

July 23, 2020, and a consolidated amended complaint is not due until 21 days after leadership is

appointed for the ND. Cal. plaintiffs.

        Contrast the progression (or lack thereof) of the ND. Cal. actions with that of the ND. Ill.

Action. The ND. Ill. Plaintiffs agreed upon leadership within days of the first four cases being

filed. Within 21 days of the filing of the first ND. Ill. action, Judge Lee appointed Carroll as

interim lead Plaintiffs’ counsel during the pendency of the MDL petition and ordered that a

Consolidated Complaint be filed on June 12, 2020. (Ex. A, at ECF No. 18).7 Within five days of

Judge Lee’s scheduling order, Carroll notified Judge Lee and all counsel for all related actions of

the mediation opportunity that Defendants presented to her. In just over a month since the first-

filed ND. Ill. action, the ND. Ill. Plaintiffs have self-organized with Judge Lee’s assistance, will

have filed their Consolidated Complaint and scheduled a mediation which will be attended by

counsel for all districts involved. The ND. Ill. Plaintiffs have advanced their litigation well beyond

that of the ND. Cal. actions.

           C. The ND. Ill. Plaintiffs Attempted to Coordinate Prosecution of the Related
              Actions

        As the Panel requested, the ND. Ill. Plaintiffs took every conceivable step “to pursue

alternatives to centralization (including, but not limited to, engaging in informal coordination of


7
  At Carroll’s own suggestion and by agreement of all counsel for the ND. Ill. actions on file at the
time of the submitted proposed order, the ND. Ill. Plaintiffs proposed that the leadership
appointment be temporary until the panel rules on the pending Motion.
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  Case: 1:19-cv-07915
          Case MDL No.Document #: 49-2 Filed:
                        2948 Document    35 08/28/20    Page 8Page
                                              Filed 06/09/20   of 177PageID
                                                                      of 16 #:1354



discovery and scheduling, and seeking Section 1404 transfer of one or more of the subject cases.).”

(ECF No. 4). Indeed, since before these MDL proceedings, the ND. Ill. Plaintiffs have maintained

a constant dialogue with plaintiffs’ counsel in the Related Actions in order to explore alternatives

to centralization. Those efforts continued following the filing of the Transfer Motion, during

which time the Related Actions pending in the Northern District of Illinois and California were

consolidated before Judges Lee and Koh, respectively.

        Because the Related Actions have largely been consolidated in their respective fora—as

well as the fact the Illinois actions seek relief exclusively for Illinois minors under a single Illinois

statute—the ND. Ill. Plaintiffs proposed to all counsel in all of the actions that the parties continue

to informally coordinate amongst themselves, rather than engage in a four-way, Section 1404

motion practice. Under this approach, each action would pursue its own discrete legal theories

and claims while coordinating their discovery efforts to ensure the Related Actions proceed

efficiently. To that end, the ND. Ill. Plaintiffs and Defendants agreed to proceed to mediation with

the assistance of the Honorable Layn Phillips (Ret.), and on June 3, 2020, the ND. Ill. Plaintiffs

immediately invited all plaintiffs’ counsel to participate. See Exhibit B, attached hereto.

        Certain counsel from each district accepted this invitation and agreed to participate in the

mediation. Unfortunately, ND Ill. Plaintiffs have been unable to obtain the cooperation of all

counsel for the ND. Cal. actions. Rather than try to coordinate with the ND. Ill. Plaintiffs, the

Hong plaintiffs did just the opposite. They flatly refused to participate in any mediation alongside

other counsel and instead have chosen to pursue intervention in the related ND. Ill. Action for the

purpose of seeking dismissal of the ND. Ill. Action.




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  Case: 1:19-cv-07915
          Case MDL No.Document #: 49-2 Filed:
                        2948 Document    35 08/28/20    Page 9Page
                                              Filed 06/09/20   of 178PageID
                                                                      of 16 #:1355



           D. The Hong Plaintiffs-Intervenors’ Attempts to Intervene In Every Illinois
              Action Come At the Expense of the Class

        Rather than engage in productive coordination as this Panel asked, the Hong plaintiffs

opted to intervene in the ND. Ill. Action and the SD. Ill. Actions. Incredibly, they pursue

intervention at the Illinois class’s peril through jurisdictional and venue arguments belonging to

Defendants that Defendants themselves have never raised. The papers are also peppered with ad

hominem attacks on counsel. Personal attacks aside, the Hong plaintiffs’ decision to appear in

related cases and take unasserted defense positions is hardly the type of cooperation and informal

coordination this Panel envisioned, let alone designed to advance the best interests of the putative

class. Moreover, as Defendants have advised the Panel, they are not opposed to centralization in

the Northern District of Illinois, showing that jurisdiction and venue are non-issues.

       In any event, when the Hong plaintiffs moved to intervene in the ND. Ill. Action, Carroll,

as court-appointed interim lead counsel pending this MDL proceeding, conferred with Defendants

and immediately advised Judge Lee that, given the pendency of the MDL, duplicative motions to

transfer are not necessary or appropriate here. Counsel for the parties in the ND. Ill. Action

immediately filed a joint status report to apprise the court that they oppose intervention and

transfer. Their joint response is due to Judge Lee on June 17, 2020.

        For reasons that will soon become apparent in response, the Hong plaintiffs’ motions to

intervene are both procedurally and substantively defective. They cannot meet the requirements

for intervention as of right or permissive intervention. Nor can they meet the standard for

intervention by making a showing that they have some interest in this litigation that is particular

to intervenor and not the existing Plaintiffs.




                                                 8
 Case: 1:19-cv-07915 Document
          Case MDL No.        #: 49-2 Filed:
                       2948 Document     35 08/28/20  Page 10Page
                                             Filed 06/09/20   of 179PageID
                                                                    of 16 #:1356



        Suffice it to say, the Hong plaintiffs’ motions, which ND. Ill. Plaintiffs will ask Judge Lee

to promptly deny, and their refusal to informally coordinate the Related Actions for the benefit of

the putative classes, confirms that the Panel’s intervention is necessary.

III.    ARGUMENT

            A. Legal standard

        “When civil actions involving one or more common questions of fact are pending in

different districts, such actions may be transferred to any district for . . . the convenience of parties

and witnesses and [promotion of] just and efficient conduct of such actions.” 28 U.S.C.A. § 1407.

Pursuant to 28 U.S.C. § 1407(a), transfer and centralization is appropriate where (1) the pending

actions involve one or more common questions of fact; (2) transfer will aid the convenience of

parties and witnesses; and (3) transfer will promote the just and efficient conduct of such actions.

In these instances, transfer and centralization streamlines discovery, avoids conflicting rulings and

scheduling issues, minimizes costs, and conserves the time and resources of the parties, witnesses

and the courts. See Manual for Complex Litigation § 20.131 (4th ed. 2016). As discussed below,

these factors weigh heavily in favor of transfer and centralization in the Northern District of

Illinois.

            B. The Actions Share Common Factual Questions

        The Related Actions undoubtedly meet the threshold requirement for centralization under

28 U.S.C. § 1407(a) because they share common factual questions. See In re Fed. Election

Campaign Act Litig., 511 F. Supp. 821, 823 (J.P.M.L. 1979) (transfer was appropriate in cases

sharing common factual issues in order to avoid duplication of discovery efforts and prevent

inconsistent rulings). It matters not that the plaintiffs in each Related Action bring varying state

law claims; “the applicability of different legal principles will not prevent the transfer of an action



                                                   9
 Case: 1:19-cv-07915
         Case MDL No.Document #: 49-2 Filed:
                       2948 Document    35 08/28/20    Page 11
                                             Filed 06/09/20    of 17
                                                             Page  10PageID
                                                                      of 16 #:1357



under section 1407 if the requisite common questions of fact exist.” In re Antibiotic Drugs, 309 F.

Supp. 155, 156 (J.P.M.L. 1970).

       Because the bulk of the Actions arise from the same operative facts—Defendants’ alleged

collection and dissemination of users’ private data without their consent—and seek to recover

under similar legal theories, transfer and centralization is appropriate. In re Zyprexa Prod. Liab.

Litig., 314 F. Supp. 2d 1380, 1381 (J.P.M.L. 2004) (“transfer under Section 1407 does not require

a complete identity or even majority of common factual issues as a prerequisite to transfer”).

Moreover, because the Actions seek to certify overlapping classes, transfer and centralization will

guard against inconsistent rulings and class determinations. See In re U. S. Fin. Sec. Litig., 375 F.

Supp. 1403, 1404 (J.P.M.L. 1974) (“the prevalence of common factual issues and similar class

allegations necessitates transfer of all actions to a single district for coordinated or consolidated

pretrial proceedings under Section 1407 in order to prevent duplication of discovery and eliminate

the possibility of inconsistent or overlapping class determinations”).

       The ND. Ill. Plaintiffs recognize that transfer “under Section 1407 should be the last

solution after considered review of all other options.” In re Best Buy Co., Inc., California Song-

Beverly Credit Card Act Litig. 804 F.Supp.2d 1376, 1378 (J.P.M.L. 2011) (denying transfer under

Section 1407 due to the limited number of cases and the possibility of informal coordination).

And, for their part, ND Ill. Plaintiffs made a good faith effort to pursue “informal cooperation

among counsel” in lieu of centralization. In re: Crest Sensitivity Treatment & Protection

Toothpaste Marketing and Sales Practices Litig., 857 F. Supp. 2d 1348 (J.P.M.L. 2012) (denying

centralization under Section 1407). Unfortunately, the failure of their efforts has only crystallized

the need for transfer and centralization pursuant to Section 1407.

           C. The Panel Should Centralize the Related Actions in the Northern District of
              Illinois Before Judge Lee

                                                 10
 Case: 1:19-cv-07915
         Case MDL No.Document #: 49-2 Filed:
                       2948 Document    35 08/28/20    Page 12
                                             Filed 06/09/20    of 17
                                                             Page  11PageID
                                                                      of 16 #:1358



        In selecting a transferee forum, the Panel typically considers “the site of the occurrence of

the common facts, where the cost and inconvenience will be minimized, and the experience, skill,

and caseloads of available judges.” Manual for Complex Litigation § 20.131 (4th ed. 2016). Each

of these factors weighs in favor of transfer to and centralization in the Northern District of Illinois.

                      1. The Northern District of Illinois Bears the Strongest Nexus to this
                         Litigation.

        The Northern District of Illinois undoubtedly possesses the strongest connection to this

litigation. It matters not that the Defendants reside in California—all but one of the Related

Actions brings claims pursuant to BIPA (an Illinois statute) on behalf of a class of Illinois residents

harmed while they used the TikTok app in Illinois.               And Defendants have indicated that

centralization is proper in the Northern District of Illinois.

        Indeed, no judicial district is more qualified to oversee BIPA litigation. Illinois courts have

overseen and adjudicated issues in hundreds of BIPA cases during the last three years. See In re:

Helicopter Crash Near Wendle Creek, British Columbia, on Aug. 8, 2002, 542 F. Supp. 2d 1362,

1363 (J.P.M.L. 2008) (“Indeed, the transferee judge has developed a familiarity with the

allegations, issues, parties and counsel involved in this docket, which will further the expeditious

resolution of the litigation taken as a whole.”). Indeed, there have been nearly 200 BIPA class

actions filed in Illinois courts, which has become the hub for actions brought pursuant to Illinois’

groundbreaking statute. The Northern District of Illinois clearly bears the strongest nexus to this

litigation.

                      2. The Northern District of Illinois Is the Most Convenient Forum

        The Northern District of Illinois also is a convenient and readily accessible location for all

counsel and witnesses. Located in Chicago, the Court is accessible by both Chicago O’Hare

International Airport and Chicago Midway Airport. As the Panel has recognized in the past, these


                                                  11
    Case: 1:19-cv-07915
            Case MDL No.Document #: 49-2 Filed:
                          2948 Document    35 08/28/20    Page 13
                                                Filed 06/09/20    of 17
                                                                Page  12PageID
                                                                         of 16 #:1359



factors make the Northern District of Illinois a convenient forum for geographically dispersed

parties. In re McDonald’s French Fries Litig., 444 F. Supp. 2d 1342, 1343 (J.P.M.L. 2006),

adhered to, 545 F. Supp. 2d 1356 (J.P.M.L. 2008) (finding “given the geographic dispersal of the

constituent actions, the Northern District of Illinois offers a relatively geographically central and

accessible forum for this litigation”); In re: Fluidmaster, Inc., 65 F. Supp. 3d 1397, 1398 (J.P.M.L.

2014) (observing the Northern District of Illinois “offers a geographically accessible forum for

this nationwide litigation”); In re Fairlife Milk Prod. Mktg. & Sales Practices Litig., 396 F. Supp.

3d 1370, 1371 (J.P.M.L. 2019) (“The Northern District of Illinois thus presents a convenient and

accessible forum for this litigation.”).

         Moreover, the sweeping majority of the plaintiffs in the Related Actions reside in Illinois.

Ensuring the convenience of these plaintiffs—all except one are minors—is paramount. See, e.g.,

Sickman v. Asset Recovery Solutions, LLC, No. 14 C 9748, 2015 WL 1911431, *3 (N.D. Ill. Apr

27, 2015) (“the court is most concerned with the convenience of the putative class members whom

plaintiff seeks to represent”). This is particularly true here where Defendants concede that they

will not be inconvenienced in the slightest if the cases are transferred to the Northern District of

Illinois.

                      3. The Northern District of Illinois Possesses Sufficient Resources and
                         Expertise, and a Favorable Caseload

         Docket conditions also favor the Northern District of Illinois over the Northern District of

California, one of the proposed transferee courts.8 As of May 15, 2020, there are twice as many

MDLs pending in the Northern District of California than in the Northern District of Illinois. And




8
   MDL Statistics Report – Distribution of Pending MDL Dockets by District, JPML,
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-May-15-
2020.pdf (report date: May 15, 2020).
                                                 12
    Case: 1:19-cv-07915
            Case MDL No.Document #: 49-2 Filed:
                          2948 Document    35 08/28/20    Page 14
                                                Filed 06/09/20    of 17
                                                                Page  13PageID
                                                                         of 16 #:1360



as of 2019, there also was an average of 854 pending cases per judgeship in the Northern District

of California, compared to just 722 in the Northern District of Illinois.9 Judge Koh—the proposed

transferee judge in the Northern District of California—currently is presiding over two MDLs

comprised of 53 separate actions. Conversely, Judge Lee, the proposed transferee judge in the

Northern District of Illinois, currently presides over only one MDL in which a settlement already

has been reached and granted final approval. Transfer to Judge Lee will support the efficient

resolution of this litigation.

         Most importantly, Judge Lee possesses experience presiding over both MDLs and complex

consumer class action lawsuits. See, e.g., In re Nat’l Collegiate Athletic Ass’n Student-Athlete

Concussion Injury Litig., 332 F.R.D. 202, 207 (N.D. Ill. 2019), aff’d sub nom. Walker v. Nat’l

Collegiate Athletic Ass’n, No. 19-2638, 2019 WL 8058082 (7th Cir. Oct. 25, 2019) (granting final

approval in MDL proceeding related to “the way the NCAA handled student-athlete concussions

and concussion related risks”); Craftwood Lumber Co. v. B.E. Atlas Co., No. 16-CV-07865, 2018

WL 2077729, at *1 (N.D. Ill. Mar. 30, 2018) (granting final approval to Telephone Consumer

Protection Act settlement). Judge Lee is more than qualified to “steer this litigation on an efficient

and prudent course.” In re Fairlife Milk Prod. Mktg. & Sales Practices Litig., 396 F. Supp. 3d at

1371.




9
  United States District Courts – National Judicial Caseload Profile, UNITED STATES COURTS,
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile1231.2019.pdf (last
visited June 3, 2020).
                                                 13
 Case: 1:19-cv-07915
         Case MDL No.Document #: 49-2 Filed:
                       2948 Document    35 08/28/20    Page 15
                                             Filed 06/09/20    of 17
                                                             Page  14PageID
                                                                      of 16 #:1361



IV.    CONCLUSION

       For the foregoing reasons, the ND. Ill. Plaintiffs respectfully request that the Panel transfer

the Related Actions to the Northern District of Illinois for coordinated pretrial proceedings.

                                      Respectfully submitted,

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                                      2810 (N.D. Ill.)

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                                                 14
Case: 1:19-cv-07915
        Case MDL No.Document #: 49-2 Filed:
                      2948 Document    35 08/28/20    Page 16
                                            Filed 06/09/20    of 17
                                                            Page  15PageID
                                                                     of 16 #:1362




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Case: 1:19-cv-07915
        Case MDL No.Document #: 49-2 Filed:
                      2948 Document    35 08/28/20    Page 17
                                            Filed 06/09/20    of 17
                                                            Page  16PageID
                                                                     of 16 #:1363



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                                        16
